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 8                        UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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11 A.M.,                                          Case No. 2:16-cv-03595-PSG-FFM
12               Plaintiff,                       [PROPOSED] ORDER ON
                                                  DEFENDANT’S MOTION FOR
13         v.                                     TRANSFER PURSUANT TO 28
                                                  USC § 1404(a)
14 VALVE CORPORATION and DOES 1
   through 10, inclusive,                         Date:                August 1, 2015
15                                                Time:                1:30 p.m.
                Defendants.                       Judge:               Philip S. Gutierrez
16                                                Courtroom:           880
                                                  Trial Date:          Not Set
17
           The hearing on Defendant Valve Corporation’s Motion for Transfer was
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     heard on August 1, 2016 at 1:30 p.m., before the Honorable Philip S. Gutierrez in
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     Department 880 of the above-entitled Court.
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           Based on the moving papers and evidence presented, and upon good cause
21
     shown, Defendant Valve Corporation’s Motion for Transfer Pursuant to 28 USC §
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     1404(a) is GRANTED.
23
     DATED: _____________, 2016
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26                                         Hon. Philip S. Gutierrez
27                                         Judge of the United States District Court
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                                              1                 Case No. 2:16-cv-03595-PSG-FFM
                                      [PROPOSED] ORDER
